Case 1:19-cv-00017-JDB Document5 Filed 01/11/19 Page 1of8

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

NATIONAL PUBLIC RADIO, INC. )
and TIM MAK, )
)
Plaintiffs, )
, Civil Action No. 1:19-cv-00017
)
UNITED STATES DEPARTMENT UE NA ED
OF THE TREASURY )
)
Defendant. )
)
STATE OF NEW YORK )
) SS.
COUNTY OF NEW YORK )

SCOTT BAILEY, being duly sworn, deposes and says as follows:

1. I am a paralegal with the law firm Ballard Spahr LLP. I am not a party to this
action, am over 18 years of age, and reside in Essex County, New Jersey.

2, On the 7th day of January, 2019, I served a true copy of the Summons, Complaint
with Exhibits 1-8, Civil Cover Sheet, Magistrate Options Form, Statement of Corporate
Disclosure by National Public Radio, Inc., and the Motion of David J. Bodney to appear pro hac
vice, with supporting affidavit and proposed order, by certified U.S. mail upon:

United States Department of the Treasury
1500 Pennsylvania Ave. NW
Washington, DC 20220

United States Attorney General

c/o Justice Management Division

950 Pennsylvania Ave. NW

Room 1111
Washington, DC 20530
Case 1:19-cv-00017-JDB Document5 Filed 01/11/19 Page 2 of 8

Civil Process Clerk
United States Attorney’s Office
555 4" Street NW
Washington, DC 20530
3. Attached are certified mail receipts reflecting that the packages referenced above

were mailed on January 7, 2019, and USPS delivery confirmations reflecting that these packages

pa ty

Scott Bailey

were delivered on January 10, 2019.

Subscribed and sworn to before me
thi 11th day of January, 2019

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Notary Public ve

Lisamarie Appel
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Public, State of New York

Qualified in Richmond County
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Commission Expires on September 2, 20,

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USPS Tracking

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in WASHINGTON, DC 20220.

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January 10, 2019 at 4:06 am
Delivered, To Agent
WASHINGTON, DC 20220

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Text & Email Updates

 

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Can’t find what you’re looking for?

Go to our FAQs section to find answers to your tracking questions.

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